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               11
               12
                                          UNITED STATES DISTRICT COURT
               13
                                        CENTRAL DISTRICT OF CALIFORNIA
               14
               15
                       Skot Heckman, Luis Ponce, Jeanene         Case No. 2:22-cv-00047-GW-GJS
               16      Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
               17      situated,                                 DEFENDANTS’ REPLY IN
                                                                 SUPPORT OF MOTION TO
               18                        Plaintiffs,             COMPEL ARBITRATION
               19
                       v.                                        The Honorable George H. Wu
               20
                       Live Nation Entertainment, Inc., and
               21      Ticketmaster LLC,
                                                                 Hearing Date: May 1, 2023
               22                        Defendants.
                                                                 Hearing Time: 8:30 a.m.
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                                                                 Courtroom: 9D, 9th Floor
               24
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               27                        REDACTED VERSION OF DOCUMENT
                                         PROPOSED TO BE FILED UNDER SEAL
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                   1 I.      INTRODUCTION
                   2         Defendants filed their motion to compel arbitration over a year ago. In the
                   3 interim, the Ninth Circuit affirmed, in full, this Court’s order compelling arbitration
                   4 in the earlier Oberstein case (brought by the same counsel as here), and rejected the
                   5 argument that consumers did not really know who they were contracting with, and
                   6 had not really agreed to arbitration with Defendants. Instead, the Ninth Circuit
                   7 held—in a unanimous, published opinion—that the arbitration agreement in
                   8 Defendants’ Terms is “a valid agreement” between Defendants and consumers, and
                   9 that “the requirements for mutual assent [are] met.” Oberstein v. Live Nation, 60
               10 F.4th 505, 509 (9th Cir. 2023). Consequently, in this case, Plaintiffs’ counsel do not
               11 dispute that Plaintiffs repeatedly agreed to the Terms, which select New Era as the
               12 arbitration provider.
               13            Instead, Plaintiffs’ counsel take a different approach to trying to avoid
               14 arbitration here—arguing that Defendants’ selection of New Era as the arbitration
               15 provider in their Terms “shocks the conscience.” So, over the past 12+ months,
               16 Plaintiffs sought (and received) extensive discovery from Defendants and New Era
               17 on this issue. Plaintiffs brazenly claimed that discovery would uncover facts that
               18 shock the conscience: that Defendants were “intimately involved in New Era’s
               19 founding and growth,” that Defendants “collude[d] with” New Era, that “Latham …
               20 played a significant role in … drafting New Era’s rules and procedures,” and that
               21 New Era had an “anti-consumer bias” due to its “direct financial dependence” on
               22 Defendants.        ECF No. 34-1 at 2-3, 5.         Discovery proved that none of those
               23 accusations are true.         That’s why—despite receiving thousands of pages of
               24 documents and taking two depositions—Plaintiffs cite so little discovery in their
               25 Opposition.
               26            Instead, Plaintiffs focus on the text of New Era’s Rules, which they had before
               27 them a year ago. They argue that the procedures for mass arbitrations and arbitrator
               28 selection are unconscionable, that the Rules create a risk of potential bias, that the
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                   1 default limitations on discovery, brief length, and record size are unconscionable,
                   2 etc.   Ultimately, Plaintiffs claim that New Era’s Rules are so outlandish that
                   3 arbitrations administered by New Era are not really arbitrations at all, and thus fall
                   4 outside the FAA’s scope. Plaintiffs’ arguments are frivolous.
                   5         Contrary to Plaintiffs’ irresponsible and distorted allegations, New Era’s
                   6 Rules are sensible, fair, and similar to those promulgated by JAMS and AAA.
                   7 Plaintiffs’ arguments are also contrary to controlling law. The FAA does not allow
                   8 a plaintiff to avoid arbitration based on speculation that the arbitrator and arbitral
                   9 process will not be “competent, conscientious and impartial.” Gilmer v. Interstate/
               10 Johnson Lane, 500 U.S. 20, 30 (1991). And the FAA requires courts to respect the
               11 parties’ “discretion in designing arbitration processes … to allow for efficient,
               12 streamlined procedures tailored to the type of dispute.”             AT&T Mobility v.
               13 Concepcion, 563 U.S. 333, 344 (2011). Consequently, courts must “rigorously …
               14 enforce arbitration agreements according to their terms, including terms that
               15 specify … the rules under which that arbitration will be conducted.” Epic Sys. Corp.
               16 v. Lewis, 138 S. Ct. 1612, 1621 (2018).
               17            There’s nothing unconscionable about New Era’s Rules, and the arbitration
               18 agreement should be enforced, in full. But it’s worth noting that, even if the Court
               19 somehow deemed New Era’s Rules unconscionable, Plaintiffs are still required to
               20 arbitrate their claims. The Terms contain a clear severability clause, and the Terms
               21 state that, if New Era is unable to conduct the arbitration for any reason, arbitration
               22 will instead be conducted by another arbitration provider. The law is clear that the
               23 severability clause and the provision on alternate arbitration providers are binding
               24 and enforceable.
               25            Defendants respectfully request that the Court grant their Motion.
               26 II.        DISCOVERY PUT THE LIE TO PLAINTIFFS’ BIAS ALLEGATIONS
               27            Despite insisting on—and receiving—extensive pre-arbitration discovery,
               28
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                   1 Plaintiffs cite hardly any discovery in their Opposition.1 That’s because discovery
                   2 showed that Plaintiffs’ incendiary allegations about New Era and Live Nation are
                   3 false.
                   4          First, discovery confirmed that Defendants and their counsel were not
                   5 involved in New Era’s founding—let alone “intimately involved.” New Era was
                   6 founded in 2020, and launched its ADR services in April 2021. See Opp’n Ex. C
                   7 10:16-18, 11:3-5. The first communication between New Era and Defendants’
                   8 counsel was in May 2021. See id. 86:2-88:2.
                   9          Second, discovery established that Defendants’ counsel and New Era engaged
               10 in an arm’s-length discussion over the potential selection of New Era—and that there
               11 was nothing improper about those interactions. To the contrary, those interactions
               12 consisted of, in total, five or six Zoom meetings in May and June 2021, during which
               13 Defendants’ counsel vetted New Era—asking questions about their capabilities and
               14 offerings—and negotiated the terms of the subscription agreement (e.g., price). See
               15 id. 65:22-66:4, 89:15-18, 92:3-93:14, 95:4-9, 96:12-20, 169:24-170:1, 174:9-16.
               16             Third, discovery confirmed that Defendants and their counsel played no role
               17 whatsoever in the drafting of New Era’s Rules. Id. 96:17-97:2, 108:12-16.2
               18             Fourth, discovery established that New Era is not financially dependent on
               19 Defendants.
               20
               21                                                          .3 Id. 16:17-21, 17:2-4, 18:3-6.
               22
                       1
               23            For example, Plaintiffs cite Live Nation’s deposition once, see Opp’n at 3,
                       and they cite to just nine documents (out of nearly 700) that were produced, see
               24      Opp’n Exs. F-N. Notably, only four of those nine are actually communications
                       between New Era and Defendants’ counsel. The remainder are communications
               25      with Latham attorneys in other offices who have never represented Defendants and
                       have no connection to Defendants whatsoever.
               26      2
                             Plaintiffs’ footnote argument that the Court should nevertheless just infer that
                       “Latham shaped” New Era’s Rules—without any evidence—is absurd. Opp’n at 2
               27      n.1.
                       3
               28            For example, well-known companies like SeatGeek, SpotHero, Zynga, and
                       PopID designate New Era in their publicly available online terms.
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                   3                   . Id. 24:20-23, 31:13-21; Opp’n Ex. E ¶¶ 5-6.
                   4        Finally, discovery did not uncover any evidence of bias. That doesn’t stop
                   5 Plaintiffs from misrepresenting the discovery record. But Plaintiffs’ “evidence” of
                   6 bias consists of (1) a handful of emails reflecting the fact that some attorneys at
                   7 Latham and other firms were interested in learning about New Era’s services (see,
                   8 e.g., Opp’n Exs. F, G, I, J, K, L, N), and (2) a New Era PowerPoint, which states
                   9 that
               10                      . Opp’n at 2 (citing Ex. F at 15). This is obviously not evidence
               11 of bias—in fact,
               12                                                                                     :
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               19
               20
               21 Opp’n Ex. F at 15. Plaintiffs never acknowledge
               22
               23                                                   .
               24 III.      ARGUMENT
               25           A.     Plaintiffs’ Challenges Have Been Delegated to the Arbitrator
               26           This Court has repeatedly held—and Plaintiffs do not dispute—that the Terms
               27 contain a “delegation clause [which] clearly and unmistakably delegates arbitrability
               28 to the arbitrator,” and, consequently, that “the Court’s unconscionability inquiry is
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                   1 limited to the delegation clause instead of the arbitration clause as a whole.”
                   2 Oberstein v. Live Nation, 2021 WL 4772885, at *8 (C.D. Cal. Sept. 20, 2021).
                   3        Nevertheless, virtually all of Plaintiffs’ arguments relate to the arbitration
                   4 agreement as a whole. Plaintiffs hope to solve this problem by tacking on four
                   5 conclusory sentences to the end of their Opposition, claiming—without
                   6 explanation—that all of Plaintiffs’ arguments apply to the delegation clause. See
                   7 Opp’n at 24. That’s not enough. See Rent-A-Center, W., Inc. v. Jackson, 561 U.S.
                   8 63, 74 (2010) (court cannot consider unconscionability challenge unless plaintiff
                   9 argues that, “as applied to the delegation provision,” it “render[s] that provision
               10 unconscionable”); Taylor v. TA Operating, 2023 WL 171359, at *9 (E.D. Cal. Jan.
               11 12, 2023). Plaintiffs’ conclusory argument does not “reflect any specific showing
               12 as to why the [d]elegation [c]lause itself is actually unenforceable due to
               13 unconscionability.” Nixon v. Dream St. Inc., 2019 WL 13197378, at *4 (D. Ariz.
               14 May 24, 2019); see also Donovan v. Coinbase Glob., Inc., 2023 WL 2124776, at *5
               15 (N.D. Cal. Jan. 6, 2023) (plaintiffs failed to meet their burden where they
               16 “identif[ied] a hodgepodge of other provisions within the Arbitration Clause … that
               17 supposedly unfairly favor [defendant] and thus render the Delegation Clause unfair
               18 as well”). It is not enough that “arbitration procedures—for example … limitations
               19 on discovery—may apply equally to the delegation clause”; instead, Plaintiffs “must
               20 argue that those provisions are unconscionable as applied to the delegation clause.”
               21 Taylor, 2023 WL 171359, at *9.
               22           Plaintiffs do assert (without explanation) that delegation is unconscionable
               23 because New Era’s arbitrators will be biased on “threshold issues.” Opp’n at 24.
               24 The argument seems to be that New Era’s arbitrators have a business incentive to
               25 rule in favor of subscribing Defendants. That fails as a matter of law. Even if “the
               26 arbitrator has a unique self-interest in deciding that a dispute is arbitrable,” because
               27 “one party tends to be a repeat player,” that does not render a delegation clause
               28 unconscionable. Tiri v. Lucky Chances, Inc., 226 Cal. App. 4th 231, 248-49 (2014).
                                                                                    DEFS.’ REPLY ISO MOT. TO
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                   1 It does not, because the concern regarding arbitrator self-interest is “virtually always
                   2 present with delegation clauses”; therefore, deeming it a basis for unconscionability
                   3 “would be tantamount to concluding that delegation clauses … are categorically
                   4 unenforceable.” Id. at 249; infra Section III.B.2.b (explaining why Plaintiffs’ bias
                   5 argument against the arbitration agreement as a whole fails).
                   6         The Court’s inquiry can and should end here.
                   7         B.    The Terms Are Not Unconscionable
                   8         In any event, Plaintiffs’ challenges to the Terms as a whole are meritless.
                   9 Under California law, a plaintiff must show that a contract is both procedurally and
               10 substantively unconscionable to be unenforceable. Sanchez v. Valencia Holding
               11 Co., 61 Cal. 4th 899, 910 (2015). Plaintiffs show neither.
               12                  1.     The Terms Are Not Procedurally Unconscionable
               13            “Procedural unconscionability concerns the manner in which the contract was
               14 negotiated,” focusing on oppression and surprise. Hallsted v. JPMorgan Chase,
               15 2017 WL 8186687, at *3 (C.D. Cal. Sept. 11, 2017). Here, the Terms concern
               16 non-essential, recreational activities; that weighs against a finding of procedural
               17 unconscionability. See Oberstein, 2021 WL 4772885, at *9; Pokrass v. DirecTV
               18 Grp., 2008 WL 2897084, at *7 (C.D. Cal. July 14, 2008) (“contracts for nonessential
               19 recreational activities cannot be procedurally unconscionable”); Price v. Apple, 2022
               20 WL 1032472, at *3 (N.D. Cal. Apr. 6, 2022) (“the nature of such contracts weighs
               21 against” procedural unconscionability).
               22            Plaintiffs seek to evade this well-established principle by arguing that the
               23 selection of New Era was a “no-notice … unilateral change” imposed “midstream”
               24 during litigation, and thus was surprising and oppressive. Opp’n at 7-8. That’s
               25 unequivocally false. Defendants did provide Plaintiffs notice, repeatedly, of the
               26 current Terms, which clearly select New Era. See Mot. to Compel Arb. at 4-7, 11-
               27 13, ECF No. 30-1 (“Mot.”). And Plaintiffs repeatedly assented to those Terms: in
               28 addition to the notice at sign-in (which this Court and the Ninth Circuit previously
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                   1 upheld), Plaintiffs here also affirmatively checked a box stating that they had read
                   2 and agreed to the current Terms designating New Era. Id. at 5-6; see also Oberstein,
                   3 60 F.4th at 517. Plaintiffs do not dispute that they did so. Instead, Plaintiffs imply
                   4 that they did not receive specific notice regarding a specific change in the Terms.
                   5 Courts (including the Ninth Circuit) have rejected that argument.               Lee v.
                   6 Ticketmaster, 2019 WL 9096442, at *1 (N.D. Cal. Apr. 1, 2019), aff’d, 817 F. App’x
                   7 393, 395 (9th Cir. 2020) (holding that changes to Ticketmaster’s Terms are
                   8 enforceable where plaintiff later agreed to updated Terms through notice on
                   9 purchase page).
               10            Plaintiffs ignore Lee and cite Szetela v. Discover Bank, 97 Cal. App. 4th 1094,
               11 1100 (2002) instead. There, the plaintiff received a notice purporting to amend the
               12 terms of his agreement with the bank in a bill stuffer. Those facts could not be more
               13 inapposite. Here, by contrast, Plaintiffs checked a box expressly affirming that they
               14 had read and agreed to the current Terms; they cannot complain now that they had
               15 “no notice” of the content of those Terms.
               16            Plaintiffs’ “midstream” litigation argument is equally disingenuous. Plaintiffs
               17 are deliberately conflating this case with Oberstein—presenting them as though they
               18 are one continuous litigation. These are two separate cases, filed at entirely different
               19 times, with different named plaintiffs (just by the same counsel, seeking to
               20 circumvent arbitration via different arguments). Defendants have never argued that
               21 the current Terms apply in Oberstein, that the Oberstein named plaintiffs must
               22 arbitrate at New Era, or that any claims filed prior to when the Terms were updated
               23 should go to New Era. New and different named plaintiffs filed the present
               24 complaint six months after the Terms were amended to designate New Era. Those
               25 plaintiffs—Heckman, Ponce, Popp, and Roberts—were not named plaintiffs in
               26 Oberstein, and each of them indisputably agreed to the current version of the Terms
               27 selecting New Era before they filed this case.
               28
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                   1         Finally, Plaintiffs argue that Defendants and consumers were in “an ongoing
                   2 contractual relationship,” and thus there is an “implied covenant” that the Terms
                   3 cannot be changed “midstream.” Opp’n at 7-8. Plaintiffs are arguing that even
                   4 where a company provides notice, and the specific consumers at issue expressly
                   5 agree to updated terms, a company can never change its terms. That’s obviously not
                   6 the law—and Plaintiffs cite no case to the contrary.
                   7         Ultimately, none of Plaintiffs’ arguments compels a different conclusion than
                   8 the one this Court reached in Oberstein: there is, at most, “a low level of procedural
                   9 unconscionability.” Oberstein, 2021 WL 4772885, at *9. Therefore, the Terms
               10 “must be enforced unless there is a heightened finding of substantive
               11 unconscionability.” Id.
               12                  2.     The Terms Are Not Substantively Unconscionable
               13            In order to demonstrate substantive unconscionability, “[i]t is not enough that
               14 terms are slightly one-sided or confer more benefits on a particular party; a
               15 substantively unconscionable term must be so unreasonable and one-sided as to
               16 ‘shock the conscience.’” Id. There is nothing about the Terms or the selection of
               17 New Era that comes close to “shocking the conscience.”
               18                         a.     New Era’s Rules Promote the Efficient, Bilateral
                                                 Resolution of Individual Arbitrations, as the FAA
               19                                Intends
               20            Plaintiffs’ unconscionability argument focuses on New Era’s use of a
               21 bellwether process for mass arbitrations. Specifically, Plaintiffs claim that, due to
               22 the application of precedent from bellwethers, claimants are unfairly subjected to
               23 “class or representative proceedings,” Opp’n at 11, and because New Era’s mass
               24 arbitrations are actually “class arbitrations,” the FAA cannot apply to the Terms, id.
               25 at 1, 19-23. Plaintiffs are wrong.
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               27
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                   1                            (1)    Mass Arbitrations Are Not “Class” or
                                                       “Representative” Proceedings
                   2
                   3         Mass arbitrations are not “class” or “representative” proceedings under New
                   4 Era’s Rules; to the contrary, each case retains its separate identity as an individual,
                   5 bilateral arbitration. Nothing about the use of bellwethers changes this. Bellwether
                   6 claimants do not represent, for example, absentee claimants. And New Era’s Rules
                   7 are clear that precedent from bellwethers is non-binding: the neutral may apply
                   8 significant factual findings and legal determinations in one proceeding to another
                   9 proceeding involving common issues. Rule 2(y)(i), ECF No. 30-4 (“New Era
               10 Rules”). Any party, however, is free to argue that a case “involve[s] individualized
               11 issues of law and/or fact that should not be subject to [p]recedent.” New Era Rule
               12 6(b)(iii)(4)(d). If the neutral agrees, then precedent from the bellwethers will not
               13 apply to those issues.
               14            Bellwethers thus do not have law-of-the-case or issue-preclusive effect.
               15 Instead, bellwether precedent is similar to how precedent operates among individual
               16 court cases of equal level: while the arbitrator “must give considerable weight to
               17 [prior] decisions … [the arbitrator] is not absolutely bound by them, and must give
               18 fair consideration to any substantial argument that a litigant makes” in support of a
               19 different result. See Colby v. J.C. Penney Co., 811 F.2d 1119, 1123 (7th Cir. 1987)
               20 (describing precedent).4 Plaintiffs’ key case here—Home Depot USA v. Lafarge N.
               21 Am., 59 F.4th 55 (3d Cir. 2023)—helpfully explains this issue. There, the Third
               22 Circuit reversed the district court’s application of law-of-the-case and issue
               23 preclusion to a later-filed case in a longstanding MDL. In doing so, the court drew
               24 a distinction between law-of-the-case and issue preclusion, on the one hand, and
               25 application of precedent to common issues, on the other. The court explained that,
               26
               27      4
                        Contrary to Plaintiffs’ claim (Opp’n at 11-12), this is true for later-filed claims
               28 too. See New Era Rule 2(y)(ii) (later-filed cases involving common issues may be
                  subject to precedent).
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                   1 “[i]n MDLs, like in other litigation, a district court may apply prior rulings to new
                   2 cases if a party presents no new facts, evidence, or arguments to warrant a
                   3 departure.” Id. at 66 n.6. The court further explained that, in MDLs, judges are free
                   4 to “enter an order with respect to one party and then provide that it will be
                   5 automatically extended to other parties if they do not come forward and show cause
                   6 why it should be not be applicable.” Id. at 66. That is exactly how New Era’s Rules
                   7 work: precedent from bellwethers applies to common issues in individual cases,
                   8 unless a party demonstrates that a case “involve[s] individualized issues of law
                   9 and/or fact that should not be subject to the [p]recedent.”           New Era Rule
               10 6(b)(iii)(4)(d).
               11           Plaintiffs also argue that the use of precedent is non-mutual, because “only
               12 plaintiffs bear the risk of loss on common issues.” Opp’n at 5. That’s categorically
               13 false. The application of precedent is mutual—and neutral. Either party could win
               14 or lose common issues; there’s nothing about the process that favors one party over
               15 another. See New Era Rules 2(y) (defining precedent), 6(b)(iii)(4)-(6) (explaining
               16 application of precedent).
               17           Plaintiffs make two fallback arguments. First, they claim that if Defendants
               18 lost on a common issue, “Defendants get … the choice of leaving New Era.” Opp’n
               19 at 5. That makes no sense. If Defendants lost on a common issue, they could not
               20 simply select a new arbitration provider; any change to the Terms would not apply
               21 to an ongoing mass arbitration, to anyone who had already filed an arbitration
               22 demand, or to anyone who did not assent to the new Terms. Second, Plaintiffs
               23 speculate that if Defendants lost on a common issue, they could “forc[e] every
               24 individualized issue through the bottleneck of a single arbitrator.” Id. New Era’s
               25 Rules do not require that a single arbitrator decide individualized issues in each case;
               26 rather, they provide that the arbitrator will create a process for resolving those issues.
               27 See New Era Rule 6(b)(iii)(6). That process could, for example, include assigning
               28 cases to other New Era arbitrators, if that’s more efficient. In any event, Plaintiffs
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                   1 cannot avoid arbitration by speculating that the arbitrator will not employ a fair and
                   2 efficient process for resolving remaining cases. See, e.g., Gilmer, 500 U.S. at 30;
                   3 Mullo v. DoorDash, 2023 WL 1971897, at *4 (S.D.N.Y. Jan. 17, 2023).
                   4 Furthermore, New Era’s Rules in this regard are completely consistent with industry
                   5 standards—for example, AAA’s suggested mass arbitration procedures include
                   6 “assigning multiple proceedings to a single, mutually agreeable Merits Arbitrator.”
                   7 Compare O’Mara Decl. Ex. E, AAA Suppl. Rules for Multiple Case Filings, Rule
                   8 MC-7, with New Era Rule 6(b)(iii)(1).
                   9         Finally, it’s worth pausing on the fact that (as explained in Defendants’
               10 Motion at 19-20) Plaintiffs’ own counsel previously proposed procedures for
               11 administering mass arbitrations that are strikingly similar to New Era’s. Plaintiffs
               12 do not make any meaningful attempt to explain the hypocrisy here, other than say—
               13 in a footnote, without explanation—that the “comparison is facially inaccurate.”
               14 Opp’n at 5 n.3. That’s plainly wrong. And Plaintiffs’ inability to explain why the
               15 bellwether process is fine when they propose it—but “shocks the conscience” here—
               16 speaks volumes.
               17                               (2)    The FAA Applies
               18            The Terms expressly state that they are governed by the FAA. ECF No. 31-
               19 30 at 12. Nevertheless, Plaintiffs devote nearly a quarter of their Opposition to
               20 arguing that the FAA cannot apply, because the use of bellwethers means that New
               21 Era’s mass arbitrations are really “class arbitrations.” See Opp’n at 1, 19-23. They
               22 are not, as explained above.
               23            Nevertheless, Plaintiffs cite Viking River Cruises v. Moriana, 142 S. Ct. 1906
               24 (2022), relying on several out-of-context quotes from that case. See Opp’n at 22.
               25 Viking, however, does not help Plaintiffs. There, the Supreme Court addressed a
               26 California rule prohibiting the division of individual and representative claims under
               27 California’s Private Attorneys General Act (“PAGA”). 142 S. Ct. at 1916-17.
               28 Viking argued that the FAA preempted this rule because “PAGA creates a form of
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                   1 class or collective proceeding,” and class procedures are inconsistent with the FAA.
                   2 Id. at 1918. The Court ultimately held that the California rule was preempted, but
                   3 rejected Viking’s rationale. Instead, the Court distinguished class proceedings
                   4 (which “bind absentees with respect to their individual claims for relief and are
                   5 preclusive as to all claims the class could have brought”) from non-class
                   6 proceedings, and explained that, “[b]ecause PAGA actions do not adjudicate the
                   7 individual claims of multiple absent third parties,” they were not class proceedings—
                   8 and thus did “not present the problems of notice, due process, and adequacy of
                   9 representation that render class arbitration inconsistent with arbitration’s
               10 traditionally individualized form.” Id. at 1920-21. The same thing is true of New
               11 Era’s bellwether process: that process does not “adjudicate the individual claims of
               12 multiple absent third parties,” and does not have preclusive effect; it therefore is not
               13 a class proceeding, and not inconsistent with the FAA.
               14                        b.     New Era Is a Neutral Forum
               15           Plaintiffs also argue that the selection of New Era is unconscionable because
               16 “New Era is biased in favor of Defendants and Latham.” Opp’n at 9-11. As
               17 explained above, in Section II, discovery did not uncover any evidence of actual
               18 bias. What Plaintiffs are really arguing is that New Era and its arbitrators might be
               19 biased: that New Era’s subscription model5 creates incentives to “appease”
               20 Defendants; that New Era’s arbitrators could be biased because “New Era selects,
               21 pays, and can terminate those arbitrators”; and that New Era could improperly
               22 change its Rules or replace a neutral “on a whim.” Id. This is all pure speculation.
               23           First, the “risk of ‘potential bias’” is not a basis for invalidating an arbitration
               24 agreement. Mullo, 2023 WL 1971897, at *4. Moreover, the law is clear that “the
               25 belief that arbitrators might over time be biased toward the repeat players that bring
               26
               27     5
                        New Era isn’t the only arbitration provider that offers a subscription
               28 agreement; FedArb, for example, does as well. See https://www.fedarb.com/
                  framework-for-mass-arbitration-proceedings-adr-mdl/.
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                   1 them business” is not a basis for finding an arbitration agreement unconscionable,
                   2 and courts may not presume “that arbitrators are ill-equipped to disregard such
                   3 institutional incentives and rule fairly and equitably.” Sandquist v. Lebo Auto., Inc.,
                   4 1 Cal. 5th 233, 259 (2016). Nothing about New Era’s subscription option changes
                   5 this analysis. Mot. at 20-22.
                   6         Second, there is absolutely no basis to impute any purported bias from New
                   7 Era to its arbitrators. As explained in Defendants’ Motion (at 21), New Era’s role is
                   8 purely administrative; it does not make any substantive determinations in the
                   9 arbitrations it administers. Nevertheless, Plaintiffs argue that New Era’s arbitrators
               10 could be biased because “New Era selects, pays, and can terminate those arbitrators.”
               11 Opp’n at 10. But that it is true of every arbitration provider. And there is no basis
               12 to presume that New Era’s experienced, qualified neutrals cannot rule fairly and
               13 equitably. See Sandquist, 1 Cal. 5th at 259; Gilmer, 500 U.S. at 30.
               14            Third, New Era’s ability to modify its rules and replace neutrals is 100-percent
               15 consistent with industry standards. Compare New Era Rule 2(dd) (New Era may
               16 modify its rules, but will endeavor to do so only once per quarter and provide notice
               17 of changes that substantively affect proceedings), with O’Mara Decl. Ex. A, JAMS
               18 Streamlined Rule 3 (“JAMS may amend these Rules without notice.”); compare
               19 New Era Rule 2(k)(iv) (allowing New Era to replace a neutral upon “a legitimate
               20 request or concern or upon unforeseeable circumstances”), with O’Mara Decl. Ex.
               21 A, JAMS Streamlined Rule 12(h) (JAMS decides whether arbitrator is unable to
               22 fulfill her duties), and O’Mara Decl. Ex. D, AAA Consumer Rule R-20 (similar).
               23            Stated simply, “[t]he FAA does not … allow a plaintiff to avoid arbitration
               24 altogether based on speculation that the process will be unfair.” Mullo, 2023 WL
               25 1971897, at *4; see also Gilmer, 500 U.S. at 30 (declining “to indulge the
               26 presumption that the parties and arbitral body conducting a proceeding will be
               27 unable or unwilling to retain competent, conscientious and impartial arbitrators”);
               28 Dotson v. Amgen, Inc., 181 Cal. App. 4th 975, 984 (2010) (courts must “assume that
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                   1 the arbitrator will operate in a reasonable manner in conformity with the law”).
                   2                      c.     New Era’s Rules on Page Limits Are Discretionary
                   3         Plaintiffs also contend that New Era’s default rules on page and record limits
                   4 are “inadequate.” Opp’n at 16-17.6 Plaintiffs characterize these limits as absolute
                   5 and, therefore, unconscionable. That’s wrong. New Era’s Rules make clear that
                   6 these limits are guidelines, not mandates; the arbitrator has discretion to adjust them.
                   7         For instance, New Era’s Rules provide that “[t]he neutral has discretion to
                   8 allow evidence in excess of the stated limits as necessary to ensure a fundamentally
                   9 fair process.” New Era Rule 6(a)(vii)(4); see also New Era Rule 2(p)(iii) (same).
               10 Likewise, the Rules allow the neutral to “request additional evidence” and “post
               11 hearing, supplementary evidence or argument”—i.e., files and briefing in excess of
               12 the default limits. New Era Rule 2(p)(vi)-(vii). Thus, while the default limits may
               13 be appropriate in many cases, the arbitrator can adjust them as needed to ensure a
               14 fundamentally fair process for all litigants.
               15            New Era confirmed this in deposition.
               16
               17
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               24
               25            Courts and other arbitration providers employ similar “guardrails.” For
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               27      6
                        Plaintiffs also reference New Era’s rule on the number of witnesses allowed
               28 (Opp’n at 1), but that rule expressly allows the neutral to grant additional witnesses
                  on good cause shown. New Era Rule 2(n)(v).
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                   1 example, judges frequently limit briefs—including trial briefs—to under ten pages.
                   2 See, e.g., Standing Order of U.S. District Judge Trina L. Thompson (N.D. Cal.) (five
                   3 page limit for trial briefs); Standing Order of U.S. District Judge Haywood S.
                   4 Gilliam (N.D. Cal.) (five page limit for trial briefs and motions in limine). If a five-
                   5 page trial brief is sufficient in federal court, it is surely sufficient in arbitration—
                   6 where “streamlined proceedings” are the goal. See Concepcion, 563 U.S. at 344.
                   7 Likewise, limits on the length of complaints are common in arbitration and
                   8 litigation.7   See, e.g., AAA Demand for Arbitration, https://www.adr.org/sites/
                   9 default/files/Consumer_Demand_for_Arbitration_Form_3.pdf             (providing     only
               10 about three lines of text for a claimant to “explain the dispute”); McCray v. Am.
               11 Canyon City Hall, 2023 WL 2278408, at *3 (E.D. Cal. Feb. 28, 2023) (limiting
               12 amended complaint to ten pages).
               13                         d.     New Era’s Rules Allow for Discovery Consistent with
                                                 Industry Standards
               14
               15            Plaintiffs also argue that New Era’s Rules are unconscionable because they
               16 allegedly allow zero discovery. In particular, Plaintiffs claim that there is “no right
               17 to discovery” in New Era’s expedited arbitrations; rather, “[t]o obtain discovery,”
               18 claimants are forced to “request to be upgraded” to New Era’s standard arbitration
               19 process, and “pay additional fees of $15,000” for the “privilege.” Opp’n at 3; see
               20 also id. at 1, 4, 22, 24. This absolutely wrong, and a blatant mischaracterization of
               21 New Era’s Rules.
               22            First, discovery is available in expedited arbitrations. It’s true that New Era’s
               23 Rules on standard arbitrations set forth a formalized, step-by-step discovery process
               24
               25     7
                         Plaintiffs suggest that there is a conflict between New Era’s ten-page limit for
               26 complaints and the “heightened pleading standard” imposed by New Era’s Rules.
                  Opp’n at 3, 16. But there is no “heightened pleading standard” in New Era’s Rules.
               27 Rather, as in federal court, a claimant must plead “facts specific to the Claimant(s)
                  that [give] rise to the dispute.” New Era Rule 6(a)(ii)(1)(a)(i); cf. Whitaker v. Tesla
               28 Motors, Inc., 985 F.3d 1173, 1176-79 (9th Cir. 2021) (requiring “well-pleaded facts
                  demonstrating the pleader’s entitlement to relief”).
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                   1 and schedule, and that New Era’s expedited arbitrations are not subject to that same
                   2 formalized process. See New Era Rule 2(o)(i). But that does not mean that there is
                   3 “no discovery” in expedited arbitrations, or that parties must “upgrade” to a standard
                   4 arbitration to obtain discovery. To the contrary, New Era’s Rules expressly provide
                   5 for discovery in all arbitrations, as needed to ensure a fundamentally fair process.
                   6 The difference is that, compared to standard arbitrations, discovery in expedited
                   7 arbitrations is informal and proceeds at the arbitrator’s discretion, so that the
                   8 proceedings may be streamlined consistent with the expedited nature of the
                   9 arbitration. Specifically, New Era’s Rules provide that, in any proceeding (including
               10 expedited arbitrations), “[a]ny request for discovery must be submitted to the
               11 neutral,” who “has discretion to determine whether it should be allowed.” New Era
               12 Rule 2(o)(iii). Further, “if a party believes an opposing party has relevant or
               13 necessary evidence that they are not disclosing, they can make a request to the
               14 neutral that such evidence be provided or disclosed,” and the neutral will determine
               15 whether “good cause for the production exists.” New Era Rule 2(q)(i). The Rules
               16 also provide for a document exchange process, pursuant to which the neutral may
               17 allow additional exchanges “as necessary to ensure a fundamentally fair process.”
               18 New Era Rule 6(a)(vii)-(viii). New Era confirmed in deposition that
               19                                                                                    Opp’n
               20 Ex. C 310:11-17, 311:1-6.8
               21            Second, even if a consumer wanted to switch to standard arbitration, she
               22 would not have to “pay additional fees of $15,000.” Opp’n at 3, 16. That is the fee
               23 for binding mediation; the number “$15,000” does not appear anywhere in New
               24 Era’s Rules for arbitrations. See New Era Rules 1(a)(i)(2), 4(a). More importantly
               25
               26     8
                        Plaintiffs also complain that New Era’s standard rule limiting each party to
               27 three depositions is “obviously inadequate,” Opp’n at 17-18, but they ignore that
                  JAMS limits each party to one deposition by default. See O’Mara Decl. Ex. B,
               28 JAMS Comprehensive Rule 17(b). Likewise, AAA has no express provision for
                  depositions in consumer cases at all. See id. Ex. D, AAA Consumer Rule R-22.
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                   1 for this case, under Defendants’ Terms, a claimant is only required to pay the initial
                   2 filing fee (and if a claimant can’t afford that fee, Defendants will cover it). ECF
                   3 No. 31-30 at 13. All other fees (if any) are paid by Defendants. Id.
                   4         Third, New Era’s Rules on discovery for expedited arbitrations are consistent
                   5 with the well-established principle that “[l]imited discovery rights are the hallmark
                   6 of arbitration.” Coast Plaza Drs. Hosp. v. Blue Cross of Cal., 83 Cal. App. 4th 677,
                   7 689-90 (2000). The guiding principle under New Era’s Rules is that “limitations on
                   8 discovery are one of the primary ways efficiencies are achieved in arbitration, and
                   9 [so] discovery must be narrowly tailored only to the information necessary to
               10 advancing a neutral’s understanding of the case.” New Era Rule 2(o)(i). Such
               11 reasonable limits are exactly what arbitration is supposed to be: “a streamlined
               12 procedure.” Dotson, 181 Cal. App. 4th at 983 (“[D]iscovery limitations are an
               13 integral and permissible part of the arbitration process.”); see also, e.g., Poublon v.
               14 C.H. Robinson, 846 F.3d 1251, 1270 (9th Cir. 2017) (“The California Supreme Court
               15 has made clear that limitation on discovery is one important component of the
               16 simplicity, informality, and expedition of arbitration.”).9
               17            Courts therefore routinely uphold arbitration discovery rules—like New
               18 Era’s—that give the arbitrator discretion to control discovery. See, e.g., Roman v.
               19 Superior Ct., 172 Cal. App. 4th 1462, 1475-76 (2009) (upholding AAA rule
               20 allowing the arbitrator “to order such discovery … as the arbitrator considers
               21 necessary to a full and fair exploration of the issues in dispute, consistent with the
               22 expedited nature of the arbitration”); Yeomans v. World Fin. Grp. Ins. Agency, 485
               23 F. Supp. 3d 1168, 1188-89 (N.D. Cal. 2020) (rejecting argument that “the arbitration
               24
               25      9
                         Not surprisingly, given that streamlined discovery is the “hallmark” of
               26 arbitration, JAMS and AAA also limit discovery. See, e.g., O’Mara Decl. Ex. C,
                  JAMS Arbitration Discovery Protocols at 5 (“the arbitrator will set meaningful
               27 limitations” on discovery); id. Ex. D, AAA Consumer Arbitration Rule R-22(a) (“If
                  any party asks or if the arbitrator decides on his or her own, keeping in mind that
               28 arbitration must remain a fast and economical process, the arbitrator may direct”
                  exchange of documents and identification of witnesses).
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                   1 agreement is substantively unconscionable because ‘the [agreement] only provides
                   2 for discovery at the arbitrator’s discretion’”); Abeyrama v. J.P. Morgan Chase Bank,
                   3 2012 WL 2393063, at *4 (C.D. Cal. June 22, 2012) (“[I]f limited discovery was
                   4 grounds for unconscionability then every arbitration clause would be
                   5 unconscionable.”).10
                   6
                                         e.     New Era’s Arbitrator Selection Rules Are Fair and
                   7                            Consistent with Industry Standards
                   8        Plaintiffs next argue that New Era’s arbitrator selection process is
                   9 unconscionable.
               10           First, Plaintiffs claim that New Era’s procedures conflict with the California
               11 Arbitration Act’s (“CAA”) provisions on arbitrator selection. See Opp’n at 13-16
               12 (discussing Cal. Civ. Proc. Code §§ 1280-1294.4). The CAA provides parties to an
               13 arbitration with a right to disqualify any arbitrator based on a mandated disclosure
               14 statement. As explained above, the Terms are expressly governed by the FAA, not
               15 the CAA. See supra Section III.B.2.a(2). “It is well-established that parties to an
               16 arbitration agreement may select which procedural rules will apply in arbitration,”
               17 and when they “expressly agree[] that the FAA [will] apply and the CAA [will] not,”
               18 that “agreement is enforceable.” Modiano v. BMW of N. Am., 2021 WL 5750460, at
               19 *2 (S.D. Cal. June 29, 2021). Because the Terms select the FAA, the CAA—
               20 including Section 1281.91(b)(1)—does not apply.
               21           Second, Plaintiffs take issue with three aspects of the selection process: (1) if
               22 a party objects to an arbitrator, New Era determines whether the arbitrator will be
               23 disqualified; (2) in a mass arbitration, each side works together to rank and strike
               24
                       10
               25        The single case on which Plaintiffs rely—Fitz v. NCR Corp., 118 Cal. App
                  4th 702 (2004)—is inapposite. There, arbitrator discretion over discovery was an
               26 “inadequate safety valve” only because “the arbitrator [was] constrained by an
                  ‘impossibility’ standard.” Id. at 716-17 (rules allowed arbitrator to grant discovery
               27 only if “a fair hearing would be impossible without” it); Carillo v. Gruma Corp.,
                  2017 WL 11631614, at *6 (C.D. Cal. Mar. 14, 2017) (distinguishing Fitz on this
               28 basis); Borgarding v. JPMorgan Chase Bank, 2016 WL 8904413, at *6 (C.D. Cal.
                  Oct. 31, 2016) (same).
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                   1 arbitrators for that side; and (3) a single arbitrator typically presides over the cases
                   2 in a mass arbitration. Opp’n at 14-15. These rules do not “shock the conscience.”
                   3 To the contrary, they are sensible, fair, and (again) mirror the rules promulgated by
                   4 JAMS and AAA. Like New Era, JAMS and AAA make the final decision on any
                   5 challenge to an arbitrator for cause.        Compare O’Mara Decl. Ex. A, JAMS
                   6 Streamlined Rule 12(j), and Ex. D, AAA Consumer Rule R-19(b), with New Era
                   7 Rules 2(k)(i)(2), 2(k)(iii).    Like New Era, JAMS provides that “[e]ntities or
                   8 individuals whose interests are not adverse with respect to the issues in dispute shall
                   9 be treated as a single Party for purposes of the Arbitrator selection process.”
               10 Compare O’Mara Decl. Ex. A, JAMS Streamlined Rule 12(g), with New Era Rule
               11 6(b)(iii)(1). And like New Era, AAA’s suggested mass arbitration procedures
               12 include “assigning multiple proceedings to a single, mutually agreeable Merits
               13 Arbitrator.” Compare O’Mara Decl. Ex. E, AAA Suppl. Rules for Multiple Case
               14 Filings, Rule MC-7, with New Era Rule 6(b)(iii)(1).
               15            Finally, Plaintiffs speculate that a neutral might disclose a conflict, or a party
               16 might object, and then New Era might improperly decline to disqualify that neutral.
               17 But New Era’s Rules require neutrals to disclose any actual or potential conflicts,
               18 allow the parties to strike proposed neutrals, and also allow the parties to object to
               19 neutrals based on any actual or potential conflict. New Era Rule 2(k). That’s
               20 eminently reasonable. Further, the law is clear that “a district court cannot entertain
               21 an attack upon the … partiality of arbitrators until after the conclusion of the
               22 arbitration and the rendition of an award.” Serv. Partners v. Am. Home Assurance,
               23 2011 WL 2516411, at *5 (C.D. Cal. June 20, 2011). In the unlikely event that a
               24 conflicted arbitrator somehow adjudicated their claims, Plaintiffs could move to
               25 vacate the award under the FAA. See 9 U.S.C. § 10(a)(2).
               26                         f.     The Class Action Waiver and Appeal Provision Are
               27                                Enforceable

               28            Finally, Plaintiffs launch two attacks against the Terms that have nothing to
                                                                                        DEFS.’ REPLY ISO MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    19                       COMPEL ARBITRATION
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                   1 do with New Era.          First, Plaintiffs argue that the class action waiver is
                   2 unconscionable under California state law, citing Discover Bank v. Superior Ct., 36
                   3 Cal. 4th 148 (2005). Opp’n at 19. But they concede that the Supreme Court
                   4 overruled Discover Bank more than a decade ago because it is inconsistent with the
                   5 FAA. Id. (citing Concepcion, 563 U.S. 333); see also Sheppard v. Staffmark Inv.,
                   6 2021 WL 690260, at *7 (N.D. Cal. Feb. 23, 2021) (“Class action waivers are
                   7 enforceable under the FAA.”).
                   8         Second, Plaintiffs challenge a provision granting both parties a limited right
                   9 of appeal: “in the event that the arbitrator awards injunctive relief against either you
               10 or us, the party against whom injunctive relief was awarded may … appeal that
               11 decision to JAMS.” ECF No. 31-30 at 14. Relying on one case—Little v. Auto
               12 Stiegler, 29 Cal. 4th 1064 (2003), which examined the right to appeal monetary
               13 awards, not injunctive relief awards—Plaintiffs argue that the appeal provision in
               14 the Terms is “non-mutual” and unconscionable. Opp’n at 18-19.
               15            But the appeal provision in the Terms is mutual: it grants a limited right of
               16 appeal to both parties. Moreover, the California Supreme Court has enforced a
               17 nearly identical appeal provision: in Sanchez v. Valencia Holding Co., 61 Cal. 4th at
               18 915-17, the court upheld a provision in an arbitration agreement allowing the party
               19 against whom injunctive relief was awarded to request a new arbitration. The court
               20 noted that the provision, in practice, likely favored the seller (the party with superior
               21 bargaining strength) more than the buyer. Id. at 917. Nevertheless, the court
               22 enforced the provision, finding that, because injunctive relief could have a “broad
               23 impact” on the seller’s business, “the additional arbitral review [of] such relief …
               24 furnishes a margin of safety that provides the party with superior bargaining strength
               25 a type of extra protection for which it has a legitimate commercial need.” Id.
               26 Plaintiffs’ argument is “foreclosed by Sanchez” and should be rejected. See McKay
               27 v. JPMorgan Chase Bank, 2016 WL 11755601, at *7 (C.D. Cal. Mar. 8, 2016)
               28 (rejecting the argument Plaintiffs make here).
                                                                                       DEFS.’ REPLY ISO MOT. TO
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                   1         C.    Even If the Selection of New Era Arbitration Were Unenforceable,
                                   Plaintiffs Are Still Required to Arbitrate
                   2
                   3         As explained in Defendants’ Motion (at 24-25), if the Court somehow found
                   4 that New Era’s Rules were unconscionable, this case must still be sent to arbitration:
                   5 the Terms contain a clear severability clause, ECF No. 30-31 at 15, and provide that,
                   6 if New Era is unable to conduct the arbitration for any reason, the arbitration will
                   7 instead be conducted by another arbitration provider, id. at 13. Plaintiffs’ only
                   8 response is to argue that the severability clause should be disregarded, and the
                   9 provision on alternate providers not enforced, because the entire arbitration
               10 agreement is permeated with unconscionability—and thus must be thrown out, in
               11 full.11
               12            There’s no way that the entire arbitration agreement is “permeated” with
               13 unconscionability. The Ninth Circuit has held that the Terms’ arbitration agreement
               14 is “a valid agreement” between Defendants and consumers, and that “the
               15 requirements for mutual assent [are] met.” Oberstein, 60 F.4th at 509. The Supreme
               16 Court has held that class action waivers are enforceable under the FAA. Concepcion,
               17 563 U.S. at 352. And the California Supreme Court has specifically upheld the
               18 limited right to appeal. Sanchez, 61 Cal. 4th at 915-17. The only conceivable issue
               19 here is New Era’s Rules. Those Rules are either unconscionable, or they’re not.
               20 And the Terms specifically spell out (and the parties expressly agreed to) what
               21 happens if a court for some reason finds that the Rules aren’t good enough.
               22            “Where a contract expressly addresses severability, a court must enforce such
               23 terms and the corresponding mutual intent of the parties.” Wu v. JPMorgan Chase
               24
                       11
               25       Plaintiffs also argue that the current Terms have had a “chilling effect” on
                  overall arbitration because “[t]here were 47 mass arbitration demands against
               26 Defendants in 2019, 20 in 2020, and zero in 2021 and 2022, when Defendants
                  switched to New Era (and just one bilateral arbitration).” Opp’n at 25. But the
               27 number of arbitrations filed against Defendants varies widely across years. For
                  instance, in 2018, before Defendants switched to New Era, there were only two
               28 individual arbitrations and zero mass arbitrations filed against Defendants—almost
                  exactly the same as in 2022.
                                                                                     DEFS.’ REPLY ISO MOT. TO
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                   1 Bank, 2019 WL 4261880, at *13 (C.D. Cal. Aug. 5, 2019). Consequently, if the
                   2 Court somehow deemed New Era’s Rules unconscionable, the Court should sever
                   3 the selection of New Era as “collateral to the main purpose of the contract, which is
                   4 to require arbitration of disputes,” and enforce the balance of the arbitration
                   5 agreement. See Poublon, 846 F.3d at 1272-74.12
                   6 IV.    CONCLUSION
                   7        Defendants respectfully request that the Court grant their Motion.
                   8
                   9 Dated: April 14, 2023                        Respectfully Submitted,
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               11
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                                                                   Entertainment, Inc.
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               26      12
                         Plaintiffs’ cases (Armendariz, Capili, Martinez, Lhotka) involved arbitration
               27 agreements that were fundamentally non-mutual, as a whole—e.g., one party had to
                  arbitrate all claims, while the other didn’t have to arbitrate any. Consequently, there
               28 was no way to sever the unenforceable provisions and leave a viable path to
                  arbitration. That’s not true here.
                                                                                     DEFS.’ REPLY ISO MOT. TO
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                   1
                                             CERTIFICATE OF COMPLIANCE
                   2
                   3         The undersigned, counsel of record for Defendants Ticketmaster L.L.C. and
                   4 Live Nation Entertainment, Inc., certifies that this brief contains 6,990 words, which
                   5 complies with the word limit of L.R. 11-6.1.
                   6
                   7 Dated: April 14, 2023                    _______________________________
                   8                                                   Timothy L. O’Mara
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